Case 21-11653-amc         Doc 80     Filed 11/04/21 Entered 11/04/21 13:40:56           Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Koleszar Farm LLC
                                Debtor(s)                               CHAPTER 11

Wilmington Trust, National Association, not in its
individual capacity, but solely as trustee for MFRA
Trust 2014-2
                                  Movant                             NO. 21-11653 AMC
                vs.

Koleszar Farm LLC
                                Debtor(s)

Manuel A. Antunes
Judith M. Antunes
                                Co-Debtor(s)
George M. Conway
                                Trustee

                                                ORDER

        AND NOW, this               day of               , 2021, upon review of Wilmington Trust,
National Association, not in its individual capacity, but solely as trustee for MFRA Trust 2014-2’s
Motion to Quash Subpoena issued by Debtor, and any response thereto, it is
        ORDERED THAT: the Subpoena issued by Debtor towards Michael McKeever, Esq., dated
October 28, 2021, is hereby QUASHED, and it is
        FURTHER ORDERED THAT reasonable attorney’s fees and costs shall be awarded to
Movant by Debtor for this Motion.


Date: November 4, 2021
                                                                     United States Bankruptcy Judge.
